Case 23-16571-RAM Doc59 Filed 01/18/24 Page 1of13

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

IN RE:
Libia Arango, Case no. 23-16571-RAM
Chapter 13 Case
Debtor(s). /
MERCEDES-BENZ FINANCIAL SERVICES USA, LLC’S
MOTION FOR RELIEF FROM STAY
Mercedes-Benz Financial Services USA, LLC (hereinafter

Movant), pursuant to 11 U.S.C. 362(d)(1), moves for relief from
the stay as follows:

1. On August 18, 2023, debtor(s) filed for relief under
Chapter 13 of the Bankruptcy Code.

2. On September 29, 2021, debtor Libia Arango and non-

debtor Marco Fernandez Jr executed a contract pertaining to the

purchase of a 2019 Mercedes-Benz CLA250C4 VIN:
WDDSJ4GB6KN729166. A copy of the contract is attached as
Exhibit A.

3. Mercedes-Benz noted its lien on the vehicle’s title.

Proof of title is attached as Exhibit B.

4, Debtor Libia Arango and non-debtor Marco Fernandez Jr
defaulted by failing to remit payments on the account, due on
November 14, 2023 through January 14, 2024, in the amount of
$602.22 each.

5. The payoff balance owed on this loan account is
$26,644.06, as of January 17, 2024, excluding attorney fees and
costs. An affidavit of indebtedness is attached as Exhibit C.

6. Debtor’s proposed First Amended Plan (DE 54) provides
Case 23-16571-RAM Doc59 Filed 01/18/24 Page 2of13

for direct payments to Mercedes-Benz.

7. A proposed order is attached as Exhibit D.

WHEREFORE, Movant requests an order under section 362 (d) (1)
modifying the stay so that Movant it may repossess or replevy
the vehicle, sell the vehicle, and apply the proceeds of the
sale to the debt owed to Movant, and determining that Federal
Rule of Bankruptcy Procedure 4001(a)(3) is not applicable and
Movant may immediately enforce and implement the stay relief

order.

I HEREBY CERTIFY that I am admitted to the bar of the United
States District Court for the Southern District of Florida and I am in
compliance with the additional qualifications to practice in this
court set forth in Local Rule 2090-1(A).

I HEREBY CERTIFY that on January 18, 2024, copies of this
foregoing were transmitted via ECF to the Office of the US
Trustee, Nancy K. Neidich, Trustee, & Jose A Blanco, Esq.,
attorney for debtor & mailed to Libia Arango, debtor, 16522 SW
99th Lane, Miami, FL 33196-5809 and non-debtor Marco Fernandez
Jr, 16522 SW 99th Lane, Miami, FL 33196-5809.

GERARD M. KOURI, JR., P.A.

Attorney for Movant

5311 King Arthur Avenue, Davie, FL 33331
Tel: (954)862-1731, Fax (954) 862-1732

[o] Gerard M. Keuri, Ju.

GERARD M. KOURI, JR., ESQ.
FBN 375969

By:

Case 23-16571-RAM Doc59 Filed 01/18/24 Page 3of13

[LAW 553-FL-ARB-e 9/19

RETAIL INSTALLMENT SALE CONTRACT — SIMPLE FINANCE CHARGE
(WITH ARBITRATION PROVISION)

Buyer Name and Address Co-Buyer Name and Address Seller - Creditor (Name and Address)
LIBIA ARANGO MARCO A FERNANDEZ JR MERCEDES-BENZ OF MIAMI
16522 SW 99 LN 16522 SW 99 LN 1200 NW 167TH ST

MIAMI FL 33196 MIAMI FL 33196 MIAMI GARDENS FL 33169
Buyer's Birth Month: Co-Buyer's Birth Month:

You, the Buyer (and Co-Buyer, if any), may buy the vehicle below for cash or on credit. By signing this contract, you choose to buy the vehicle
on credit under the agreements in this contract. You agree to pay the Seller-Creditor (sometimes “we” or “us” In this contract) the Amount Financed and
Finance Charge in U.S. funds according to the payment schedule below. We will figure your finance ch on a dally basis at the Base Rate of
___ 6.19 _% per year. The Truth-In-Lending Disclosures below are part of this contract.

You have thoroughly inspected, accepted, and approved the vehicle in all respects.

New/Used/ Weight Xe \
Demo Year Make and Model (lbs.) Vehicle Identification Number Pliimarj\Use For Which Purchased
Parstnai, &mily, or household unless
MERCEDES BENZ . hervXse indicated below
usiness
USED 2019 CLA-CLASS NIA wonssscssknrasie Ol agnaa NIA
You agree that we advised you whether, based on seller's knowledge, the vehicle was titled, registered, or used a icab, police vee. short term rental or is
a vehicle that is rebuilt or assembled from parts, a kit car, a replica, a flood vehicle, or a m uy back.
i Zé. a \ A
FEDERAL TRUTH-IN-LENDING DISCLOSURES / 7 ™. RANTIES SELLERADISCLAIMS
eos | GRANGE [Ameen | pretuet, the Sale mak a rien waranty, o
RATE The doflar The amount of The amount ysu lers\into a service gontyact within 90 days
The cost of amount the credit provided | will have pai r from tha date of this gontydct, the Seller makes
your credit as credit will to you or you have madsall no )warfanties, express or implied, on the
a yearly rate. cost you. on your behalf. payments as vepicte/and there will be no implied warranties
scheduled. morchantability or of fitness for a particular
se.
6.19 % $ 7309.94 | $ ___36049.90 $£43359.82 is provision does not affect any warranties
Your Payment Schedule Will Be: / £7 ~<(e) mdags an estimate | [bayering the vehicle that the vehicle manufacturer
Number of Amount of When aympnts \ \ “J | ma guide,
Monthly posing Aa Rabat pert Charge: If any check or other payment Instrument you
72 602.22 114 4/2021 \ give us WS dishonored or any clectroric payment you make is returned
unpaid, you will pay a charge of $25 if the payment amount is $50 or fess;
N/A $30 if the payment amount is over $50 but not more than $300; $40 # the
Or As Follows: payment amauntis over $300; or such amount as parmitted by law.
Florida documentary stamp tax required by law in the amount of
$__126.35 __ has been paid or will be paid
Late Charge. If payment is mot r: directly to the Department of Revenue.
of __5 _% of each installment. Certificate of Registration No, _78-8013889494-9__

You assign afl manufacturer rebates and cash back
incentives used as a downpayment on this contract to seller.
You agree to complete all documents required for assignment
default, prepayment penatties, a i i of rebates and incentives.

Electronic Contracting and Signature Acknowledgment. You agree that (i) this contract is an electronic contract executed by
you using your electronic signat i) yo tronic signature signifies your intent to enter into this contract and that this
contract be legally valid and enforceable in accordance with its terms to the same extent as if you had executed this contract using
your written signature and (iii) the authoritative copy of this contract ("Authoritative Copy") shall be that electronic copy that resides
in a document management system designated by us for the storage of authoritative copies of electronic records, which shall be
deemed held by us in the ordinary course of business. Notwithstanding the foregoing, if the Authoritative Copy is converted by printing
€ paper copy which is marked by us as the original (the "Paper Contract"), then you acknowledge and agree that (1) your signing of
this contract with your electronic signature also constitutes issuance and delivery of such Paper Contract, (2) your electronic signature
associated with this contract, when affixed to the Paper Contract, constitutes your legally valid and binding signature on the Paper
Contract and (3) subsequent to such conversion, your obligations will be evidenced by the Paper Contract alone.

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09/29/2021, 02:40 pm
LAW 553-FL-ARB-e 9/19 vt Page 1 of 6
Case 23-16571-RAM Doc59 Filed 01/18/24 Page 4of13

TTEMIZATION OF AMOUNT FINANCED Used Car Buyers Guide. The information you
1 Gash Price (including $ 2297.70 sates tax) $ 36501.70 (4,| see.on the window form for this vehicle is
2 Total Downpayment = part of this contract. Information on the
Con oe s___wa | window form ovaries any contrary
Less Pay Off Made By Seller (e) $ NIA Spanish Translation: Guia para
Equals Net Trade In $___WA. compradores de vehiculos usados. La
+ Cash $____5000.00_ informacién que ve en el formulario de la
+ Other_N/A $ N/A ventanilla para este vehiculo forma parte del
+ Other N/A $ N/A presente contrato. La informacion del
{If total downpayment is negative, enter ‘0” and see 5J below) $______ 5000.00 (2)| formulario de la ventanilla deja sin efecto
3. Unpaid Balance of Cash Price (1 minus 2) $ 31501.70.(3)| toda disposicién en contrario contenida en
4 Predelivery Service Fees el contrato de venta.
j i 799.00
Elects Rian Hig cee ; 149.00 OP7IONAL SERVICE CONTRACTS
co _NIA 5 NA required to buy a service contract to

y become due into
mpetent jurisdiction.

These charges represent costs and profil to the dealer for items such as inspecting, y service contracts you buy will
A Cost of Optional Credit Insurance Paid to insurance Company or Companies. ed\under Florida's Uniform
B Vendor's Single Interest Insurance Paid to insurance Company

E Official Fees Paid to Government Agencies ~~ \ NA

H Government License and/or Registration Fees ‘ou Agree that we may try to contact you in

cleaning, and adjusting vehicles, and preparing documents related to the safe. cision to sell or extend credit to
Total Predelivary Service Fees $ 948.00 (4) .
§ Other Charges Including Amounts Paid to Cthers on Your Behait
(Seller may keep part of these amounts): REVOCATION
Life $ NIA
Disabili
iy $ NIA : Ala | ecurity interest in th& velicle because of this,
ow must either: i
C Other Optional Insurance Paid to Insurance Company or Companies $ { f N/A st either: (a) ppt a'pond in the amount
D Optional Gap Contract $ ~\ 1b00.00
$
F Government Documentary Stamp Taxes $ 41 26.35
G Government Taxes Not Included in Cash Price $ ND Se ING AND COLLECTION CONTACTS
Lic Ri Ing, by e-mail, or using pre recorded/artificial
volee messages, text messages, and automatic

| Government Certificate of Title Fees <. oO~ oe
J. Other Charges (Seller must identity who is paid and describe pufose/_ NX \, iso agree ng ht ne nay ty toconectyou i
fo NIA for Prior Credit or Lease lange (e) $ N d other ways at any address or
to SAFEGUARD for VEH PROT PLUS KEY $ 1398.09 ne number you provide us, even if the
fons for N/A \ $ \ Ni telephone number is a cell phone number or the
to Nia {gun YON $ LN contact results in a charge to you.
fo nia Z7ornia [ N\ A
to Nia f jor ia ~ NN, $ N/A APPLICABLE LAW
low /_f sora ye _NIA Federal law and the law of the state of Florida
to pzar ING 7 for DENT PROTEGTION A g 509,00 apply to this contract.
to wa for NA C $ NIA
to NA for iA $ N/A
Total Other Charges and Amoutts Paid to Others on Your Behalf $ 3600.20 (5)
6 n Processing Fee Paid td Sellar \Prepaid Finance Charge) | $ 0.00 (6)
7 Amount Financed (3 plus 4 pldg 5)__\_ L L ¢ 36049.90 (7)
loption: (1 You pay no finance cheage if the Prount Financesifém 7, }“patd in full on or before _N/A Year N/A ____. SELLER'S INITIALS ___N/A__
OPTIONAL GAP CONTRACT. A gap ct (debt cancellatieh contract) is not required to obtain credit and will not be provided unless you sign below and agree
to pay the extra charge. If you choose to b t, the charge is shown in Item 5D of the Itemization of Amount Financed. See your gap contract for
details on the terms and conditions it provides. It is a part of this contract.
Term 72 Mes, ZURICH
Name of Gap Contract
| want to buy a gap contract. 6 fe =
Buyer Signs X L
NO COOLING OFF PERIOD

State law does not provide for a “cooling off” or cancellation period for this sale. After you sign this contract,
you may only cancel it if the seller agrees or for legal cause. You cannot cancel this contract simply because
you change your mind. This notice does not apply to home solicitation sales.

Agreement to Arbitrate: By signing below, you agree that, pursuant to the Arbitration Provision on page 5 of this contract, you or we may elect to resolve any
dispute by neutral, binding arbjtation and got bya court action. See the Arbitration Provision for additional informer concerning the agreement to arbitrate.

Buyer Signs X Co-Buyer Signs X

LAW 553-FL-ARB-e 9/19 v1 Page 2 of 6
09/29/2021, 02:40 pm
Case 23-16571-RAM Doc59 Filed 01/18/24 Page5of13

Insurance, You may buy the physical damage insurance this contract requires from anyone you choose who is acceptable to us. You may also provide the physical damage insurance through
an existing policy owned ar controlled by you that is acceptable to us. You are not required to buy any other insurance to obtain credit unless the box indicating Vendor's Single Interest Insurance
is required is checked below, Your choice of insurance providers will not affect our decision to sefl you the vehicle or extend credit to you.

If any insurance is checked below, policies or certificates from the named insurance companies will describe the terms and conditions.

Check the Insurance you want and sign below:
Optional Credit Insurance

1 Credit Life: [-} Buyer [_] Co-Buyer (_] Both J Credit Disabitty: (CJ Buyer CO co-Buyer J Both
Term N/A Term N/A
Premium: Credit Life $ NIA Credit Disability $__ N/A

Insurance Company Name NIA Home Office Address _ N/A

Credit lite insurance and credit disability insurance are not required to obtain credit. Your decision to buy or not to buy cradit life insurance and credit disability insurance will not be a factor in the credit
approval process. They will not be provided unless you sign and agree to pay the extra cost. If you choose this insurance, the cost is shown in Item SA of the Itemization of Amount Financed. Credit life
insurance is based on your original payment schedule, This insurance may not pay all you owe on this contract if you make late payments. Credit disability insurance does not cover any increase in your
payment or in the number of payments,

if the box above is checked to indicate that you want credit life insurance, please read and sign the following acknowledgments:

1. You understand that you have the option of assigning any other policy or policies you own or may procure for the purpose of covering this exXénsien of credit and that the policy need not be purchased
from us in order to obtain the extension of credit.

xX N/A N/A xX WA N/A

Buyer Date Co-Buyer Date

2. You understand that the credit life coverage may be deferred if, at the time of application, you are unable to engaga in employment or unable to Perform Kormal activities of a person of like age and
sex, (You need not sign this acknowledgemant if the proposed credit life insurance policy does nat contain this restriction.)

xX N/A NIA x {—~ _NIA NIA

Buyer Date Co-Buyer Date

3. You understand that the benefits under the policy will terminate when you reach a certain age and affirm that your age is accurat nted on the tion & policy.

X N/A N/A X ~~ NA NIA
Co-Byyer
ramiuim $

Buyer Date Date
Other Optional Ifsyrance
LJ_N/IA N/A Pp NIA
Type of Insurance Term \ \ </
Insurance Company Name & Address

N/A

C_NIA N/A ek 7
Type of Insurance Te x
Insurance Company Name & Address /—~~
NIA L_

C_NIA [_AIA Daum ss NIA NON
Type of Insurance Term
Insurance Company Name & Address ( \
N/A

O_NIA of ANWAN _premiyh s_Z_NIA

Type of Insi rm
insurance Company Name & Addr
N/A

D1_NiA ff ATA Premiums _N/A

Typefof | Term
insurance Company Name & Address!
N/A

Other optional insurance is not reqhired to 'sptain credit. Your decision to buy or noybuy ofher optional insurance will not be a factor in the credit approval process. It will not be provided unless you sign
and agree to pay the extra cost.
| wand the insurance checked above,

X NIA [A Xx N/A NIA
Buyer Signature ~~ _// Date Co-Buyer Signature Date

LIABILITY INSURANCE COVERAGE FOR BODIAINJURY AND PROPERTY DAMAGE CAUSED TO OTHERS IS NOT INCLUDED IN THIS CONTRACT.

[((] VENDOR'S SINGLE INTEREST INSURANCE (VSI insurance): If the preceding box is checked, the Creditor requires VSI insurance for the initial term of the contract to
protect the Creditor for loss or damage to the vehtcle (collision, fir, theft, concealment, skip). VSI insurance is for the Creditor’s sole protection, This insurance dees not protect
your Interest in the vehicle. You may choose the Insurance company through which the VSI Insurance Is obtained. If you elect to purchase VSI insurance through the

Creditor, the cost of this Insuranceis$ N/A andi also shown in item 5B of the Itemization of Amount Financed. The coverage |s for the initial term of the
contract.

You authorize us to purchase Vendor's or Lender's Single Interest Insurance.

Buyer Signs X N/A Co-Buyer Signs X N/A Date: _N/A

LAW 563-FL-ARB-e 9/19 vi Page 3 of 6
09/29/2021, 02:40 pm
Case 23-16571-RAM Doc59 Filed 01/18/24 Page 6 of 13
OTHER IMPORTANT AGREEMENTS

1,

FINANCE CHARGE AND PAYMENTS

How we will figure Finance Charge. We will treat any Prepaid Finance
Charge as fully sarnad on the date of this contract. We will figure the rest
of the finance charge on a daily basis at the Base Rate on the unpaid part
of your Principal Balance. Your Principal Balance is the sum of the Amount
Financed and the Prepaid Finance Charga, if any.

How we will apply payments. We may apply each payment to the earned
and unpaid part of the Finance Charge, to the unpaid part of your Principal
Balance and to other amounts you owe under this contract In any order we
choose as the law allows,

How late payments or early payments change what you must pay. We
based the Finance Charge, Total of Payments, and Total Sale Price shown
on page 1 of this contract on the assumption that you will make every
payment on the day its due. Your Finance Charge, Total of Payments, and
Total Sale Price will be more if you pay late and less If you pay early.
Changes may take the form of a larger or smaller final payment or, at our
option, more or fewer payments of the same amount as your scheduled
payment with a smaller final payment. We will send you a notice telling you
about these changes before the final scheduled payment is due,

You may prepay. You may prepay all or part of your Principal Balance at
any time. If the contract is paid in full within six months after the date you
sign it, we may impose an acquisition charge, not exceeding $75, for
services performed on your behalf for processing this contract. If you
prepay, you must pay the earned and unpald part of the Finance Charge
and all other amounts due up to the date of your payment.

You may ask for a payment extension. You may ask us for a deferral of
the scheduled due date of all or any part of a payment (extension). If we agree
to your request, we may charge you a $15 extension fee. You must maintain
the physical damage insurance required by this contract (see 2.d.) during any
extension. If you do not have this insurance, we may buy it and charge you for
itas this contract says. You may extend the term of any optional insurance you
bought with this contract to cover the extension if the insurance comp
your insurance contract permits it, and you pay the charge for ¢
insurance.

fee If we charge you this fee.

YOUR OTHER PROMISES TO US

If the vehicle is damaged, ¢

+ The vehicle and all partsor goods Putanit:

+ — All money or goods receivetproceeds) for the vehigh;

+ — Ailinsurance, malntenance, servite;-ecalhercentracts we finance for
you; and

+ — Allproceeds frominsuranca, maintenance, service, or other contracts
we finance for you. This Includes any refunds of premiums or charges
trom the contracts.

This secures payment of all you owe on this contract. It also secures your

cther agreements in this contract, You will make sure the title shows our

security interest (lien) in the vehicle. You will not allow any other security

Interest to be placed on the title without our written permission.

Insurence you must have on the vehicle.

You agree to have physical damage Insurance covering loss of or damage

to the vehicle for the term of this contract. The insurance must cover our

interest in the vehicle. You agree to name us on your insurance policy as

an additional insured and as loss payee. If you do not have this insurance,

we may, if we choose, buy physical damage Insurance. Ii we decide to buy
physical damage insurance, we may either buy Insurance that covers your
interest and our interest in the vehicle, or buy insurance that covers only our
interest. If we buy either type of insurance, we will tell you which type and the
charge you must pay. The charge will be the premium for the insurance and
a finance charge at the highest rate the law permits. If the vehicle is lost or
damaged, you agree thal we may use any insurance setilement to reduce
what you owe or repair the vehicle,

What happens to returned Insurance, maintenance, service, or other
contract charges. If we cbtain a refund of Insurance, maintenance, service,
or other contract charges, you agree that we may subtract the refund from

what you owe.
A

IF YOU PAY LATE OR BREA

YOUR OTHER PROMISES

pay the attorney's fee and court costs as the law allows.
atiomeys’ tees we incur as a resuit of any bankruptcy

hasjan electronic wack ydevice (such as GPS), you agree that we may use
the/ device to find the vehicle. If we take the vehicle, any accessories,
egiipment, and replacement parts will slay with the vehicle. If any personal
jfems are in the vehicle, we may store them for you. If you do not ask for these
items back, we may dispose of them as the law allows.

How you can get the vehicle back if we take it. If we repossess the vehicle,
you may pay to get it back (redeem). We will tell you how much to pay to
redeem. Your right to redeem ends when we sell the vehicle.

We will sell the vehicle if you do not get It back. Ifyou do not redeem, we
will sell the vehicle. We will send you a written notice of sale before selling
the vehicle.

We will apply the money from the sale, tess allowed expenses, fo the amount
you owe. Allowed expenses are expenses we pay as a direct result of taking
the vehicle, helding it, preparing it for sale, and selling it. Attorney fees and
court costs the law permits are also allowed expenses. If any money is left
(surplus), we will pay it to you unless the law requires us to pay it to someone
else, If money from the sale is not enough to pay the amount you owe, you
must pay the rest to us. if you do not pay this amount when we ask, we may
charge you interest at a rate not exceeding the highest lawful rate until you
pay.

What we may do about opticnal insurance, maintenance, service, or
other contracts. This contract may contain charges for optional insurance,
maintenance, service, or other contracts. If we demand that you pay all you
owe al once or we repossess the vehicle, you agree that we may claim
benefits under these contracts and cancel them to obtaln refunds of
unearned charges to reduce what you owe or repalr the vehicle. If the vehicle
is a total loss because it is confiscated, damaged, or stolen, we may claim
benefits under these contracts and cancel them to obtain refunds of
unearned charges to reduce what you owe.

LAW 553-FL-ARB-e 9/19 v1 Page 4 of 6
09/29/2021, 02:40 pm
Case 23-16571-RAM Doc59 Filed 01/18/24 Page 7 of13

Seller’s Right to Cancel

a. Seller agrees to deliver the vehicle to you on the date this contract Is signed by Seller and you. You understand that it may take a few days
for Selter to verify your credit, locate financing for you on the exact terms shown on page 1 of this contract, and assign this contract to a
financial institution. You agree that Seller has the number of days stated below to assign this contract. You agree that if Seller is unable
to assign this contract within thls time period to any one of the financial institutions with whom Seller regularly does business under an
acceptable to Seller, Seller may cancel this contract. Seller’s right to cancel ihis contract ends upen assignment of this
contract.

b. If Seller elecis to cancel per Paragraph a above, Seller will give you written notice (or in any other manner in which actual notice is given
to you). In that event, you may have the option of negotiating and signing @ new contract with different financing terms (for example, a
larger down payment, a higher annual percentage rate, a required cosigner, etc.) or you may pay with alternate funds arranged by you.

c. Upon receipt of the notice of cancellation, you must return the vehicle to Seller within 48 hours in the same condition as when sold other
than reasonable wear for the time you had il. Except as described below, Sefler must give you back all consideration Seller has received
from you in connection with this contract.

d. If you do not return the vehicle within 48 hours after receipt of the notice of cancellation, you agfee that Setler may use any lawful means
to take it back (including repossession if done peacefully) and you will be llabfe for all expenS$es Incurred by Seller in taking the vehicle
from you, including reasonable attorney's fees. if you fail to return the vehicle within 48 hours\gfter teceipt of the notice of cancellation,
you agree to pay Seiler the charge shown in the Seller’s Right to Cancel provision below for eack day‘you do not return the vehicle after
receipt of the notice of cancellation.

e. While the vehicle Is in your possession, all terms of this contract, including those relating to use of the
vehicle, are in full force and you assume all risk of loss or damage to the vehicle~You must pay all tea
damage done to ihe vehicle while the vehicle is in your possession. Seller may det af
c. above Seller's reasonable costs to repair the vehicle and any dally charges yoirine
receipt of the notice of cancellation. If Seller cancels this contract, the terms of this Sellé
below) remain in effect even after you no longer have possession of the yehicie-—~_

vehicle and Insurance for the
Onable costs for repair of any

Aight to Caittel prevision (including those

ti sh >

SELLER'S RIGHT TO CANCEL - If Buyer and Co-buyer sign here, the provisyéns ot tie Seller’ it to Cancel sectiomabove, which gives the
Seller the right to cancel if Seller is unable to assign this contract within 20 day’, will apply. If you fail ta return the vehicle
within 48 hours after receipt of the notice of cancellation, you agree a“ ller a chargo of 99.00 __} peg day from the date

of cancellation until the vehicleis returned or repossessed.
x oo ee o Heady
uyer Signs A ZL

Buyer Signs

THAT YOU AND WE WOULDHAVE IN CQURT MAY NOT AVAILABL.

Any claim or dispute, whetheAn coptratt, Tort, statute or othrexwi
arbitrability of the claim or giSputgy, between you and us or our eMp age
asé or Zondition of this vehicle, this contract or any resulting transaction or relationship (including any such relationship
with third parties who dofot gign this contract) shall, at yo pur election, be resolved by neutral, binding arbitration and not by a court action.
if federal law provides that a qlaim or dispute is not subject f) binding arbitration, this Arbitration Provision shall not apply to such claim or dispute.
arbitrated by a single arbitratof on an individual basis and not as a class action. You expressly waive any right you
la class action. You may choose} the} American Arbitration Association, 1633 Broadway, 10th Floor, New York,
New York 10019 (www.ady. or any other organization to/confiuct the arbitration subject to our approval. You may get a copy of the rules of an
arbitration organization by\gontat e organization or ysiting its website.
Arbitrators shall be attorne j pall be selected pursuant to the applicable rules. The arbitrator shall apply governing
a te-ef.limitatiarS. TheArbitration hearing shall be conducted in the federal district in which you reside unless
the Seller-Creditor is a party to the*slg te, in which case the hearing will be held in the federal district where this contract was executed.
We will pay your filing, administration, $e asé management fee and your arbitrator or hearing fee all up to a maximum of $5000, unless
the law or the rules of the chosen arbitration organization require us to pay more. The amount we pay may be reimbursed in whole or in part by
decision of the arbitrator if the arbitrator finds that any of your claims is frivolous under applicable law. Each party shall be responsible for its own
attorney, expert and other fees, unless awarded by the arbitrator under applicable law. If the chosen arbitration organization's rules conflict with
this Arbitration Provision, then the provisions of this Arbitration Provision shall control. Any arbitration under this Arbitration Provision shall be
governed by the Federal Arbitration Act (9 U.S.C. § 1 et. seq.) and not by any state law concerning arbitration. Any award by the arbitrator shall
be in writing and will be final and binding on all parties, subject to any limited right to appeal under the Federal Arbitration Act.
You and we retain the right to seek remedies in small claims court for disputes or claims within that court's jurisdiction, unless such action is
transferred, removed or appealed to a different court. Neither you nor we waive the right to arbitrate by using self-help remedies, such as
repossession, or by filing an action to recover the vehicle, to recover a deficiency balance, or for individual injunctive relief. Any court having
jurisdiction may enter judgment on the arbitrator's award. This Arbitration Provision shall survive any termination, payoff or transfer of this contract.
If any part of this Arbitration Provision, other than waivers of class action rights, is deemed or found to be unenforceable for any reason, the
remainder shall remain enforceable. If a waiver of class action rights is deemed or found to be unenforceable for any reason in a case in which
class action allegations have been made, the remainder of this Arbitration Provision shall be unenforceable.

LAW 553-FL-AAB-e 9/19 vi Page 5 of 6
09/29/2021, 02:40 pm
Case 23-16571-RAM Doc59 Filed 01/18/24 Page 8of 13

NOTICE: ANY HOLDER OF THIS CONSUMER CREDIT CONTRACT IS SUBJECT TO ALL CLAIMS AND DEFENSES WHICH
THE DEBTOR COULD ASSERT AGAINST THE SELLER OF GOODS OR SERVICES OBTAINED PURSUANT HERETO OR WITH
THE PROCEEDS HEREOF. RECOVERY HEREUNDER BY THE DEBTOR SHALL NOT EXCEED AMOUNTS PAID BY THE
DEBTOR HEREUNDER.

The preceding NOTICE applies only to goods or services obtained primarily for personal, family or household use. In all other cases,
Buyer will not assert against any subsequent holder or assignee of this contract any claims or defenses the Buyer (debtor) may have
against the Seller, or against the manufacturer of the vehicle or equipment obtained under this contract.

Trade-in Vehicle Trade-In Vehicle
Year N/A Make N/A Year N/A Mare N/A
Model N/A. . Mode N/A
vN_NIA VIN_N/A
Gross Trade-In Allowance $__N/A Gross Trade-inAllowance$_ N/A < \\
Payot! Made by Seller $__ N/A (2) | PayoitMadeby Selerg__ N/A @)
Lienholder N/A Lenholder N/A —\
You assign to Seller all of your rights, title and interest in such trade-in vehicle(s). Except as expressly stated to Seller in writing, you that your trade-in vehicle(s) has not
been involved in an accident, has not had any major body damage or required any major engine repair, and was not previously used as Afaxicay, police vehicle, short term rental or

is a vehicle that is rebuilt or assembled from parts, a kit car, a replica, a flood vehicle, or a manufacturer buy b:

Buyer Initials N/A ___ Co-Buyer Initials _N/A

Trade-in Payoff Agreement: Seller relied on information from you and/or the ilenholder or lessor ot your trade-in vehicle to arrive at the tra
of Amount Financed as the Pay Oif Made by Seller. You understand that the amount quoted Is an estimate.
Seller agrees to pay the payolf amount shown above and In Item 2 to the tlenholder or lessor of the trade-in veh ne its designee, actual payoff amount ls mo amount shown above and in
item 2 you must pay the Seller the excess on demand. If the actual payoff amount is less than the amount Seéler receives from your prior
llenhoker or lessor. Except as stated In the "NOTICE" above, any assignee of this contract will not be obl

. tem 2
. : the Pay de by Seley shown above and [n Item ® or ahy refund,
Buyer Signature X N/A CoB he onature X NIA 4

The Annual Percentage Rate may be negotiable vith th Seller. The =n yy r may adeigh this contract

ff amount sheWn abdve and in Item 2 of the itemization

and retain its right to receive a part of the Financ har,

HOW THIS CONTRACT CAN BE CHANGED. This contract contains the entire ageei Prtemptae esas
must sign it. No oral changes are bincing. Buyer Sig ns Xx eats Signs X

If any part of this contract is not vatid, all other parts stay val Wem ay m venta any oe Ounights Under this contract without sng them. For example, we may
extend the lime for making some payments without extending the ti ing others.
See the rest of this contract for other important agreementy.

NOTICE TO THE BUYER: a) Do not sign mel on ract before you it or if it contains any blank spaces. b) You are
entitled to an exact copy of the contract yok eep it to protec yo r legal rights.

You agree to the terms of this ce . i ‘ou signed this contract, we gave it to you, and you were free to take it
and review it. You acknowledgé th f th Ct, ivcluding the arbitration provision on page 5, before signing

{ bgin writing and we

Date 09/29/2021

Buyer Signs X
if the "business" use box is cheq

Co-Buyers and Other Owners -- A cofbuyer is a persen who is responsible aying the entire debt. An other owner is a person whose name is on the title to the vehicle but does not have
to pay the debt. The other owner a fo the security interest in the vehicle given tq us in this contract.

Title N/A

Other owner signs here X NIA

Address
Seller Signs MERCEDES-BENKOF MbgMs Daj 09/29/2021 By xX E-GISNED by JOSHUA MATHEWS Tile .F&! MANAGER

Ee’

[LAW = FORM NO. 553-FL-ARB-e rev. 19)
ARE NO WARRANTIES: EXPRESS OR IMPLIED, AG TO CONTENT OA
THERE ARE RO WARRANTIES, FORM. CONSULT YOUR OWN LEGAL COUNSEL, LAW 553-FL-ARB-e 9/19 v1 Page 6 of 6
. 09/29/2021, 02:40 pm
Case 23-16571-RAM Doc59 Filed 01/18/24 Page 9 of 13

10/2/23, 8:50 AM

ELT Printout without Account Information

Collateral Management Services
9750 Goethe Road | Sacramento, CA 95827

www.dealertrack.com
Mercedes-Benz Financial Services
Lien and Title Information
Lienhoider
ELT Lien ID 0222392031
Lienholder Mercedes-Benz Financial Services US
Lienholder Address PO Box 997542
Sacramento, CA 95899
Lien Release Date
Vehicle and Titling Information
VIN WDDSJ4GB6KN729166 Issuance Date 10/12/2021
Title Number 0133671320 Received Date 10/25/2021
Title State FL ELT/Paper ELECTRONIC
Year 2019 Odometer Reading
Make MERZ Branding
Model
Owner 1 LIBIAARANGO
Owner 2 MARCO ANTONIO FERNANDEZ JR
Owner Address 16522 SW 99 LN

MIAMI, FL 33196

Printed: Monday, October 2, 2023 6:50:05 AM PST

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https://title. fdielt.com/MVC/CollateralPrint/CollateralPrint?view=CollateraiPrint&account=no

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Case 23-16571-RAM Doc59 Filed 01/18/24 Page 10 of 13

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

In re: Libia Arango
Case No. 23-16571

Debtor(s) Chapter 13

AFFIDAVIT OF INDEBTEDNESS IN SUPPORT OF MERCEDES-BENZ FINANCIAL
SERVICES USA LLC’S MOTION FOR RELIEF FROM STAY

. —T
Before me, the undersigned authority, personally appeared Co G Ow ( ausloy

who, being duly sworn, deposes and says:

I. lam SF OO a { or . [am employed as a Bankruptcy Specialist
by Mercedes-Benz Financial Services USA LLC (“Creditor”).

2. This affidavit is based upon Creditor’s loan payment records as of January 17,
2024. These records are regularly maintained in the course of business of Creditor and it is the
regular practice of Creditor to make and maintain these records. These records reflect loan
payments that are noted in the records at the time of receipt by persons whose regular duties
include recording this information. | maintain these records for Creditor and regularly use and
rely upon them in the performance of my duties.

3, Debtor maintains a loan, account number XXXX2001, with Creditor. Creditor
holds a security interest in the following property:

2019 MERCEDES-BENZ CLA250C4, VIN WDDSJ4GB6KN729166

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Case 23-16571-RAM Doc59 Filed 01/18/24 Page 11 of 13

4. The payments on this loan account, due for 11/14/2023 through 1/14/2024, in the
amount of $602.22 each fora total of $1,806.66 have not been received by Creditor.

5. The payoff balance owed on this loan account is $26,644.06, as of January 17,
2024, excluding attorney fees and costs.

6. Creditor does not have current verifiable proof of collision and comprehensive
insurance covering the vehicle.

7. The contract and proof of title attached to this motion as exhibits are. true and
accurate copies of the original documents.

8. This concludes my affidavit.

a —

Printed Name:

SWORN TO AND.SUBSCRIBED TO before me under penalty of perjury as being true
and correct based on the personal knowledge of Creditor’s books and business records this

|-1_ day of 202, by _S¢ ETO aus or , who is
personally known to me. .

NOTARY PUBLIC:

Sign:
e, JACKIE BLAIR Print:
ie Ac? My Notary De 131877753
: SE Expires February 1, 2027 State of Texas at Large

My Commission Expires; (Q—\-3Oa) +
Case 23-16571-RAM Doc59 Filed 01/18/24 Page 12 of 13

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

IN RE:
Libia Arango, Case no. 23-16571-RAM
Chapter 13 Case

Debtor(s). /

ORDER GRANTING MERCEDES-BENZ FINANCIAL SERVICES USA, LLC’S
MOTION FOR RELIEF FROM STAY

THIS CAUSE came before the Court on the consent calendar
held on xxx at 9:00 a.m. on Mercedes-Benz Financial Services
USA, LLC’s Motion for Relief from Stay (DE xx). Upon
consideration of the motion and the record, it is

ORDERED that:

1. The stay imposed pursuant to 11 U.S.C. Section 362 is

modified so as to allow Mercedes-Benz Financial Services USA,

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Case 23-16571-RAM Doc59 Filed 01/18/24 Page 13 of 13

LLC (“Movant”) to repossess or replevy the 2019 Mercedes-Benz
CLA250C4 VIN: WDDSJ4GB6KN729166, to sell the vehicle, and to
apply the proceeds of the sale of the vehicle to the amount owed
to Movant.

2. The stay is modified for the purpose of allowing Movant
to obtain and sell the vehicle and to apply the proceeds of the
sale to the indebtedness owed to Movant or to proceed in a Court
of competent jurisdiction for the sole purpose of seeking in rem
remedies. Movant shall not seek nor obtain any in personam
judgment against the debtor(s).

3. Rule 4001(a)(3) of the Federal Rules of Bankruptcy
Procedure is not applicable and Movant may immediately enforce

and implement this order granting relief from stay.

FHF

Attorney Kouri is directed to mail a conformed copy of this
Order to all interested parties immediately upon receipt of this
Order and shall file a certificate of service with the Clerk of
the Court.

Submitted by:

GERARD M. KOURI, JR., P.A.

5311 King Arthur Ave, Davie, FL 33331
Tel (954) 862-1731; Fax (954) 862-1732
Email: gmkouripaecf@gmail.com
